  Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 1 of 73 PageID: 1




Jeffrey A. Carr
PEPPER HAMILTON LLP
(A Pennsylvania Limited Liability Partnership)
Suite 400
301 Carnegie Center
Princeton, NJ 08543-5276
(609) 452-0808

Counsel for Defendants, Semprae Laboratories, Inc.
(improperly plead as Semprae Pharmaceuticals),
Rachel Scherl, Mary Jaensch, The Jannick Group, LLC
(improperly plead as The Jannick Group), Ira Lubert,
Quaker Bioventures and Independence Capital
Partners, Inc. (improperly plead as Independence Capital Partners)

                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEW JERSEY


HAROLD P. MINTZ D/B/A
ENHANCEMENT ASSOCIATES,                                         CIVIL ACTION NO. ________________

                                                   Plaintiff,

                                 v.
                                                                NOTICE OF REMOVAL
SEMPRAE PHARMACEUTICALS, NEW
SPRING CAPITAL PARTNERS, ZEV
SCHERL, RACHEL SCHERL, MARY
JAENSCH, THE JANNICK GROUP, IRA
LUBERT, QUAKER BIOVENTURES,
INDEPENDENCE CAPITAL PARTNERS,

                                                 Defendants.



                     PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1446 and 1331,

Defendants, Semprae Laboratories, Inc. (improperly plead as Semprae Pharmaceuticals), Rachel

Scherl, Mary Jaensch, The Jannick Group, LLC (improperly plead as The Jannick Group), Ira

Lubert, Quaker Bioventures and Independence Capital Partners, Inc. (improperly plead as

Independence Capital Partners) (collectively referred to as the “Defendants”), through their
  Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 2 of 73 PageID: 2




undersigned counsel, and with the consent of all other defendants, New Spring Capital Partners

and Zev Scherl (collectively referred to as the “New Spring Defendants”), file this Notice of

Removal in the office of the Clerk of the United States District Court for the District of New

Jersey.

               Defendants, by their undersigned counsel, state:

               1.      On June 16, 2010, Plaintiff, Harold P. Mintz, d/b/a Enhancement

Associates (“Plaintiff”) filed a Complaint against Defendants and the New Spring Defendants in

the New Jersey Superior Court, Bergen County, which was docketed as BER-L-5950-10. A true

and correct copy of all process, pleadings and orders, including the Plaintiff’s Complaint, are

attached hereto as Exhibit A.

               2.      This is a civil action over which this Court has original jurisdiction as it

arises under the laws of the United States as provided in 28 U.S.C. § 1331. In particular,

Plaintiff presents thirteen counts in his Complaint, including alleged violations of the Racketeer

Influenced and Corrupt Organization Act, 18 U.S.C. § 1961-1968 (“RICO”) and the Hobbs Act,

18 U.S.C. § 1951. Exhibit A, Complaint at the “Fifth Claim for Relief,” ¶¶ 134-141.

               3.      On July 6, 2010, Quaker BioVentures was served with a copy of the

Complaint. This is the earliest date any of the Defendants or New Spring Defendants was served

or otherwise received notice of the Complaint. Thus, in accordance with 28 U.S.C. §1446(b),

this Notice of Removal is being “filed within thirty days after receipt by the defendant, through

service or otherwise, of a copy of an amended pleading, motion, order or other paper from which

it may first be ascertained that the case is one which is or has become removable.”

               4.      The New Spring Defendants, through their counsel, Aaron Krauss, Esquire

of Cozen O’Connor, consent to Defendants’ removal of this action.



                                                 -2-
#12923091 v1
  Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 3 of 73 PageID: 3




               5.     Pursuant to 28 U.S.C. §1446(d), written notice of this removal is being

given promptly to all parties and a copy of this Notice of Removal is being filed with the Clerk

of the Superior Court of New Jersey, Bergen County, Law Division.

                                             Respectfully submitted,



                                              s/ Jeffrey A. Carr
                                             Jeffrey A. Carr
                                             PEPPER HAMILTON LLP
                                             (A Pennsylvania Limited Liability Partnership)
                                             Suite 400
                                             301 Carnegie Center
                                             Princeton, NJ 08543-5276
                                             (609) 452-0808

                                             Counsel for Defendants, Semprae Laboratories, Inc.
                                             (improperly plead as Semprae Pharmaceuticals),
                                             Rachel Scherl, Mary Jaensch, The Jannick Group,
                                             LLC (improperly plead as The Jannick Group),
                                             Ira Lubert, Quaker Bioventures and Independence
                                             Capital Partners, Inc. (improperly plead as
                                             Independence Capital Partners)

Dated: August 3, 2010




                                                -3-
#12923091 v1
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 4 of 73 PageID: 4




           EXHIBIT A
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 5 of 73 PageID: 5
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 6 of 73 PageID: 6
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 7 of 73 PageID: 7
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 8 of 73 PageID: 8
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 9 of 73 PageID: 9
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 10 of 73 PageID: 10
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 11 of 73 PageID: 11
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 12 of 73 PageID: 12
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 13 of 73 PageID: 13
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 14 of 73 PageID: 14
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 15 of 73 PageID: 15
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 16 of 73 PageID: 16
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 17 of 73 PageID: 17
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 18 of 73 PageID: 18
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 19 of 73 PageID: 19
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 20 of 73 PageID: 20
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 21 of 73 PageID: 21
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 22 of 73 PageID: 22
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 23 of 73 PageID: 23
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 24 of 73 PageID: 24
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 25 of 73 PageID: 25
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 26 of 73 PageID: 26
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 27 of 73 PageID: 27
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 28 of 73 PageID: 28
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 29 of 73 PageID: 29
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 30 of 73 PageID: 30
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 31 of 73 PageID: 31
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 32 of 73 PageID: 32
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 33 of 73 PageID: 33
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 34 of 73 PageID: 34
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 35 of 73 PageID: 35
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 36 of 73 PageID: 36
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 37 of 73 PageID: 37
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 38 of 73 PageID: 38
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 39 of 73 PageID: 39
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 40 of 73 PageID: 40
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 41 of 73 PageID: 41
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 42 of 73 PageID: 42
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 43 of 73 PageID: 43
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 44 of 73 PageID: 44
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 45 of 73 PageID: 45
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 46 of 73 PageID: 46
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 47 of 73 PageID: 47
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 48 of 73 PageID: 48
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 49 of 73 PageID: 49
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 50 of 73 PageID: 50
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 51 of 73 PageID: 51
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 52 of 73 PageID: 52
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 53 of 73 PageID: 53
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 54 of 73 PageID: 54
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 55 of 73 PageID: 55
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 56 of 73 PageID: 56
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 57 of 73 PageID: 57
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 58 of 73 PageID: 58
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 59 of 73 PageID: 59
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 60 of 73 PageID: 60
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 61 of 73 PageID: 61
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 62 of 73 PageID: 62
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 63 of 73 PageID: 63
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 64 of 73 PageID: 64
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 65 of 73 PageID: 65
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 66 of 73 PageID: 66
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 67 of 73 PageID: 67
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 68 of 73 PageID: 68
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 69 of 73 PageID: 69
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 70 of 73 PageID: 70
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 71 of 73 PageID: 71
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 72 of 73 PageID: 72
Case 2:10-cv-03937-KSH-PS Document 1 Filed 08/03/10 Page 73 of 73 PageID: 73
